Case 1:24-cv-03356-AS   Document 20-5   Filed 06/05/24   Page 1 of 3




                    Exhibit E
                            Case 1:24-cv-03356-AS                 Document 20-5           Filed 06/05/24         Page 2 of 3
                                    https://www.nytimes.com/2024/04/15/arts/music/new-york-philharmonic-misconduct.html




Philharmonic Sidelines 2 Players It Tried to Fire for Misconduct
The New York Philharmonic said the musicians would not perform for now, after a magazine article brought new
attention to allegations of misconduct. They have denied wrongdoing.


       Listen to this article · 5:11 min Learn more




          By Javier C. Hernández

April 15, 2024


The New York Philharmonic said on Monday that two players it had tried to fire in 2018 — but was forced to rehire
after the musicians’ union challenged their dismissal — would not take part in rehearsals or performances for the time
being after a magazine article detailed the allegations of misconduct that had been made against them.

The Philharmonic said that the players — the principal oboist, Liang Wang, and the associate principal trumpet,
Matthew Muckey — would not appear as the orchestra deals with the fallout from a New York magazine article
published on Friday.

In the article Cara Kizer, a former Philharmonic horn player, came forward for the first time to publicly discuss an
encounter that occurred when she was on tour with the Philharmonic in Vail, Colo., in 2010. She told the Vail Police
Department then that she had been sexually assaulted after spending the evening with the two players and was given
a drink she came to believe was drugged, according to police records.

No charges were filed against the men and both have denied wrongdoing; their lawyers said they expect to return to
the ensemble soon.

In 2018 the Philharmonic moved to dismiss Mr. Wang and Mr. Muckey, who both joined the orchestra in 2006. It said at
the time that it had received reports that the two players had “engaged in misconduct,” which it declined to describe,
and that it had decided to fire them after commissioning an investigation. But the players’ union, Local 802 of the
American Federation of Musicians, challenged their dismissals.

The orchestra was forced to reinstate them in 2020 after an independent arbitrator found that they had been
terminated without just cause.

Gary Ginstling, the Philharmonic’s current president and chief executive, said in an interview on Monday that the New
York magazine report had “prompted a lot of strong feelings” and confirmed that Mr. Muckey and Mr. Wang were not
playing with the orchestra at the moment.

Mr. Ginstling declined to say when they might rejoin the ensemble, or whether the orchestra would once again seek
their termination. But he noted that the Philharmonic faced constraints because of the 2020 ruling, which the orchestra
criticized at the time.

“The determination was through binding arbitration,” Mr. Ginstling said. “Binding is the key word.”

The orchestra committee, which represents players, said in a statement that it is “the overwhelming sentiment from
the orchestra that we believe Cara” and that “we don’t believe these are isolated incidents involving Matt Muckey and
Liang Wang.” The committee added that the orchestra has a culture of “not taking musician complaints seriously so
musicians often do not feel safe in raising accusations of sexual harassment and assault” and called on management to
take action to provide a safe workplace.

Sara Cutler, the president and executive director of Local 802, who took office last year, struck a different tone than her
predecessors. She said in a statement on Monday that the decision to keep Mr. Wang and Mr. Muckey offstage for the
time being “are good first steps but they can’t be the last.”

“As a woman, a musician and a new union president,” she said, “I am horrified by what was in the story and we are
committing the full resources of Local 802 to erase the culture of complicity that has raged at the N.Y. Philharmonic for
too long.”

Ms. Kizer had not been granted tenure with the orchestra when the encounter occurred; she wound up leaving the
orchestra but did not discuss the process with New York magazine.
                              Case 1:24-cv-03356-AS                                  Document 20-5                         Filed 06/05/24               Page 3 of 3
She said in a statement on Monday that since the article appeared she had been “receiving an influx of emails from
survivors everywhere, and finding even more that mine isn’t an isolated experience in our industry.”

“I’m grateful for this outpouring of support, knowing that I’m not alone,” she said.

Alan S. Lewis, a lawyer representing Mr. Wang, disputed the idea that his client had done anything wrong, pointing to
the arbitrator’s ruling.

“The Philharmonic decided that it would be best for Liang and the other musician to take a couple of weeks off while
the Philharmonic manages the firestorm that the distorted article ignited,” Mr. Lewis said in a statement. “Liang loves
the Philharmonic as well as his colleagues, who he holds in high regard and has always treated with respect and
dignity. He looks forward to soon returning to the Philharmonic stage.”

Steven J. Hyman, a lawyer for Mr. Muckey, said that the report “should not be the basis of any adverse actions” by the
Philharmonic.

“We expect that Mr. Muckey will be able to resume his position as associate principal trumpet and the matter once and
for all put to rest,” he said.

The orchestra’s musicians posted a statement on social media on Saturday calling on the orchestra’s players and its
management to help ensure a safe environment.

“We wholeheartedly denounce and find abhorrent all conduct that violates and degrades the women in our orchestra,”
the statement said. “Such conduct is an affront to women everywhere. It must never be tolerated.”

Javier C. Hernández is a culture reporter, covering the world of classical music and dance in New York City and beyond. He joined The Times in 2008 and
previously worked as a correspondent in Beijing and New York. More about Javier C. Hernández

A version of this article appears in print on , Section C, Page 2 of the New York edition with the headline: Philharmonic Sidelines Accused Musicians
